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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                              Case No. 9:19-cv-81160-RS




  APPLE INC.,

                         Plaintiff,

        v.

  CORELLIUM, LLC,

                       Defendant.



                    PLAINTIFF APPLE INC.’S REPLY
                 REGARDING ITS MOTION TO COMPEL
          DEFENDANT CORELLIUM, LLC TO PRODUCE RESPONSIVE
        DOCUMENTS AND PROVIDE COMPLETE DISCOVERY RESPONSES
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        Corellium does not dispute there is a broad swath of information Apple has requested that
 Corellium outright refuses to produce. And while Corellium amended its responses to Apple’s
 Requests for Production just last week (nearly four months after Apple first served the Requests),
 the problems with its responses remain and, in fact, have worsened.1
        Corellium’s Amended Responses Are Insufficient. Parties are required to give specific
 objections so that the requesting party knows what the responding party is and is not producing.
 Adelman v. Boy Scouts of Am., 276 F.R.D. 681, 688 (S.D. Fla. 2011) (“[O]bjections to discovery
 must be ‘plain enough and specific enough so that the court can understand in what way the
 [discovery is] alleged to be objectionable.’”) (citation omitted). Corellium’s responses still do not
 provide that certainty. First, Corellium’s amended responses contain numerous new objections,
 all of which are untimely because they were not stated “within the time provided by the Federal
 Rules of Civil Procedure.” Local R. 26.1(e)(2)(A).2 Second, Corellium is still obscuring what,
 exactly, it will produce. To take just one example (of many), Corellium suggests it will limit its
 production in response to RFP No. 24 to what it calls “facilitation of study and research of iOS,”
 and will not produce documents related to the Corellium Apple Product’s technology more
 generally. ECF No. 77 (“Resp.”) at 4–5. Yet in its amended response to that request, following a
 litany of objections, it states: “Corellium will produce non-privileged documents responsive to this
 Request.” ECF No. 77-1 at 15. Corellium must clarify what it will produce.
        Corellium’s Trade Secret/Proprietary Objections Are Meritless.3 Corellium’s response
 and amended answers also demonstrate that Corellium refuses to produce highly relevant and
 plainly discoverable information. Apple has alleged that the Corellium Apple Product infringes
 Apple’s copyrights in iOS and related software and images, that Corellium contributes to others’
 infringement of those works, and that Corellium traffics a tool designed to circumvent access and



 1
   Corellium has incorporated by reference arguments advanced in its response to Apple’s Motion
 to Compel regarding Apple’s Interrogatories (ECF No. 76). Apple does the same.
 2
   Corellium also changed entirely its position on some requests. For example, Corellium originally
 agreed to produce documents responsive to RFP No. 25, but now says it will not produce any
 documents in response. Also, while Corellium asserts it “remove[d] all language containing ‘to
 the extent it seeks’” from its Amended Responses (Resp. at 3), it has not in fact done so. See ECF
 No. 77-1 at 4–19, 21–22, 36 (RFP Nos. 1–4, 7–16, 18–19, 22–25, 31–32, 34–36, 41–43, 83).
 3
    In its amended responses, Corellium asserted numerous newly expanded trade secret,
 confidentiality, and proprietary objections. See, e.g., ECF No. 77-1 at 4–29, 31–33, 35–37 (RFP
 Nos. 1–4, 7–16, 18–19, 22–25, 30–32, 34–37, 41–43, 50–53, 55, 57–64, 70, 73, 79, 83).


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 copy controls that protect those works. ECF No. 56 ¶¶ 45–77. Corellium defends itself on
 technical bases—asserting that its product does not circumvent any Apple controls—and on the
 grounds of “fair use,” asserting that its product constitutes transformative technology and is used
 for good-faith security research in a way that only modestly competes with Apple. Corellium
 now—after being served with a motion to compel—objects to producing key information about its
 technology, customers, business, and financial information that is necessary for Apple’s claims
 and damages, and Corellium’s defenses, on the grounds that such information constitutes “trade
 secrets,” is “irrelevant,” and is “not proportional.” Such objections are unsupported.
        “It is well settled that there is no absolute privilege for trade secrets and similar confidential
 information.” 8A Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. § 2043 (3d
 ed.). Rather, the Federal Rules of Civil Procedure establish a specific mechanism for parties that
 want to withhold information based on a “trade secret” claim—the seeking of a protective order
 pursuant to Rule 26(c)(7). Despite having Apple’s First Set of Requests for Production since
 October, Corellium has not sought a protective order to address any requests therein. That choice
 itself is telling. Nevertheless, Corellium’s “trade secret” objection should be analyzed the same
 way as a motion for a protective order under Rule 26(c)(7). See, e.g., Am. Standard Inc. v.
 Humphrey, No. 3:06-cv-893-J-32MCR, 2007 WL 1186654, at *2 (M.D. Fla. Apr. 19, 2007).
 Under that standard, the party resisting discovery on the basis of a “trade secret” objection must
 first meet its burden to show “that the information sought is a trade secret and that disclosure may
 be harmful.” Del Monte Fresh Produce Co. v. Dole Food Co., Inc., 148 F. Supp. 2d 1322, 1324
 (S.D. Fla. 2001). To do so, a party must make “a particular and specific demonstration of fact as
 distinguished from stereotyped and conclusory statements.” Am. Standard, 2007 WL 1186654, at
 *2. “Only after such a showing is made does the burden shift to the party seeking the discovery to
 show the information sought is relevant and necessary.” Id. at *3.
        Corellium cursorily claims that producing technical, business, and financial information
 about the Corellium Apple Product—that is, the product accused of infringing Apple’s
 copyrights—“will severely injure Corellium’s business and will cause irreparable harm” because
 it constitutes “proprietary and trade secret information.” Resp. at 3. Corellium provides no
 evidence supporting this claim. Nor does Corellium explain how disclosure of such information
 could possibly be harmful given the Protective Order in this case. As courts regularly recognize,
 “any potential harm is obviated by the previously entered Confidentiality Order that limits the use


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 of this information to this litigation and to those who would be privy to it.” OKO Int’l Co. v.
 Haurex Italy, S.r.l, No. 12-60405-CIV, 2012 WL 12899041, at *1 (S.D. Fla. Dec. 11, 2012).
        Corellium also has not established that documents related to its customers constitute trade
 secrets. Corellium did not “submit[] an affidavit outlining affirmative steps [it] has taken to keep
 its customers . . . confidential or identified any non-disclosure agreements it has with its . . .
 customers.” Coty Inc. v. C Lenu, Inc., No. 10-21812-CIV, 2010 WL 5392887, at *3 (S.D. Fla.
 Dec. 22, 2010). To the contrary, some of its customers have been publicly identified or publicly
 identified themselves. See ECF No. 56 at 13 n.5, 17 n.9. Furthermore, “even assuming, arguendo,
 that disclosing the customer list reveals trade secret or confidential commercial information,” the
 Protective Order in this case (ECF No. 50) adequately accounts for Corellium’s concerns. OKO
 Int’l Co., 2012 WL 12899041, at *1. And Corellium has already recognized as much, since it
 already disclosed its customer list pursuant to the protections in that Order. Having done so,
 Corellium cannot plausibly claim that all documents relating to those same customers are immune
 from discovery. Corellium’s objections to producing customer documents must be overruled. See
 Dish Network L.L.C. v. Fraifer, No. 8:16-CV-2549-T-17TBM, 2017 WL 3701140, at *3 (M.D.
 Fla. May 24, 2017) (“[D]iscovery related to the manufacturers, suppliers, and sellers or resellers
 of the [accused product] is relevant to the copyright allegations and defenses and appropriate for
 discovery in this matter. The claim of trade secret as to these matters is overruled.”).
        Corellium’s Burden, Proportionality, and Relevance Objections Are Meritless.4
 Corellium’s argument that Apple’s requests constitute burdensome “fishing” is equally unavailing.
 Where, as here, the sought-after facts relate to the central issues in the case, “a broad search for
 facts, and indeed ‘fishing’ for evidence is permitted.” Wynmoor Cmty. Council, Inc. v. QBE Ins.
 Corp., 280 F.R.D. 681, 685 (S.D. Fla. 2012). A party asserting a burden objection “must show
 specifically how the requested discovery is burdensome, overbroad, or oppressive by submitting
 detailed affidavits or other evidence establishing the undue burden.” Zamperla, Inc. v. I.E. Park
 SrL, No. 6:13-cv-1807-ORL-37KRS, 2014 WL 12614505, at *2 (M.D. Fla. Nov. 3, 2014) (citation
 omitted). And the resisting party also “must show that the requested discovery has no possible
 bearing on the claims and defenses raised in the case.” Lombardi v. NCL (Bahamas) Ltd., No. 15-


 4
  In its amended responses, Corellium asserted numerous newly expanded burden, proportionality,
 and relevance objections. See ECF No. 77-1 at 4–22, 24–36 (RFP Nos. 1–4, 6–16, 18–19, 21–25,
 27, 30–32, 34–43, 50–53, 55, 57–65, 67, 69–71, 73, 75, 77–79, and 81–83).


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 20966-CIV, 2015 WL 12085849, at *1 (S.D. Fla. Dec. 11, 2015).
        Information about the Corellium Apple Product is plainly relevant to this action, as is
 information about Corellium’s testing, analysis, and evaluation of the Corellium Apple Product
 and any associated hardware. The premise of Corellium’s relevancy objection is that “the only
 matter at issue [in this case] is the facilitation of the study of iOS, not Corellium’s core
 virtualization technology.” Resp. at 4. Not so. Apple has sued Corellium because the Corellium
 Apple Product—that is, the hardware and iOS software that the product impermissibly modifies,
 copies, and incorporates into itself—infringes Apple’s copyrights and the sale of the product
 violates the DMCA’s anti-trafficking provisions. Thus, information about and related to the
 Corellium Apple Product is squarely relevant to the central issues in this case. See, e.g., Apple Inc.
 v. Psystar Corp., 658 F.3d 1150, 1153 (9th Cir. 2011) (addressing hardware and software of
 infringing product that incorporated copyrighted Apple operating system). Corellium has not
 provided the requisite “detailed affidavits or other evidence” to establish its claim of undue burden,
 nor explained why a small company that has been in business for just over two years, and has only
               for the Corellium Apple Product, cannot produce information about that product.
        Corellium’s refusal to produce documents related to, or communications with, those
 customers is equally inapt. Corellium’s fair use defense directly puts at issue “the purpose and
 character of the use, including whether such use is of a commercial nature or is for nonprofit
 educational purposes.” 17 U.S.C. § 107(1)). Apple’s contributory infringement claim makes
 directly relevant and proportional the requests for information about the individuals and/or entities
 that have purchased Corellium’s infringing product.         Metro-Goldwyn-Mayer Studios Inc. v.
 Grokster, Ltd., 545 U.S. 913, 930 (2005)). And communications between Corellium and its
 customers addressing the trafficking of the Corellium Apple Product are directly relevant to
 Apple’s DMCA anti-trafficking claim. Given that largely undisputed legal framework, the
 information Apple seeks about Corellium’s customers as well as about Azimuth Security,
                                                 , is plainly relevant and subject to discovery. Cf.
 Ashley Furniture Indus. Inc. v. Am. Signature, Inc., No. 2:11-cv-00427, 2011 WL 4383594, at *4
 (S.D. Ohio Sept. 19, 2011) (“To determine whether Defendants’ use of these images was fair,
 Plaintiff is entitled to discover the full extent of the alleged use.”). Corellium’s assertion that,
 because it provided its customer list in an interrogatory response, it does not have to produce any
 documents related to its customers is patently meritless. While Rule 33 allows a party to produce


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 documents in lieu of interrogatory responses, no authority allows a party to answer an interrogatory
 in lieu of producing responsive documents. Rather, “[a] party must produce documents in response
 to a request for production where those documents are ‘in the responding party’s possession,
 custody, or control[.]’” Dish Network, 2017 WL 3701140, at *2 (citing Fed. R. Civ. P. 34(a)).
        Corellium’s objection to producing its “financial records” and “strategies Corellium has as
 to its pricing, sales plans, forecasts, financial projections, or sales projections,” Resp. at 4–6,
 likewise lacks merit. All the requests Corellium targets are either specific to the Corellium Apple
 Product or to Corellium’s actions with respect to its business, which is built on the sale of the
 Corellium Apple Product. Corellium’s actions are directly relevant both to whether it willfully
 infringed Apple’s copyrighted works and to the amount of damages that are warranted against it.
 See, e.g., Cable/Home Commc'n Corp. v. Network Prods., Inc., 902 F.2d 829, 851–52 (11th Cir.
 1990). And requests directed to Corellium’s business plans and projections are directly relevant
 to its fair use defense. See Barcroft Media, Ltd. v. Coed Media Grp., LLC, 297 F. Supp. 3d 339,
 353 (S.D.N.Y. 2017) (rejecting fair use defense given, inter alia, the defendant’s “business
 model”). For example, in RFP 38, Apple requests “[a]ll communications between Corellium and
 any Foreign government entity, or any agent thereof, regarding the Corellium Apple Product or
 iOS virtualization technology.” ECF No. 68-1 at 15 (emphasis added.) Corellium’s financial and
 sales records for its infringing product are directly relevant to both its fair use argument—which
 requires the Court to evaluate the commerciality of Corellium’s product and its competition with
 Apple’s own market—and to Apple’s damages claims. See 17 U.S.C. § 504(b) (one measure of
 infringement damages is “any profits of the infringer that are attributable to the infringement”).
        Corellium’s Baseless Privilege Objection. Finally, the Court should order Corellium to
 produce all documents it intends to rely on at any hearing or at trial, as well as documents related
 to its affirmative defenses. Corellium contends that disclosing such documents will convey its
 counsel’s “legal theories and mental impressions.” Resp. at 6. Yet Corellium cites only inapposite
 case law addressing “documents or tangible things . . . prepared in anticipation of litigation or for
 trial,” id. (citing U.S. Pepper’s Steel & Alloys, Inc., 132 F.R.D. 65 (S.D. Fla. 1990))—something
 Apple is not seeking. Apple’s requests do not require disclosure of any privileged information,
 and courts regularly require parties to produce the documents they intend to rely on during
 litigation. See, e.g., Thompson v. Equifax Info. Servs., LLC, No. 2:18-CV-12495-TGB, 2019 WL
 2059123, at *3 (E.D. Mich. May 9, 2019). The Court should do so here as well.


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  Dated: January 24, 2020                         Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

        I, Emily L. Pincow, do hereby certify that on January 24, 2020, I caused a copy of the

 foregoing Plaintiff Apple Inc.’s Reply Regarding Its Motion To Compel Defendant Corellium,

 LLC to Produce Responsive Documents and Provide Complete Discovery Responses to be

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